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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF OKLAHOMA

    1) ROSE MARIE CARRIER,

                     Plaintiff,
                                                            Case No. 13-cv-471-JED-PJC
    v.

    2) UNITED SERVICES
                                                             Tulsa County Case No. CJ-2013-02547
       AUTOMOBILE ASSOCIATION;
       and
                                                             JURY TRIAL DEMANDED
    3) USAA CASUALTY INSURANCE
       COMPANY,

                     Defendants.


                                    NOTICE OF REMOVAL

              Please take notice, pursuant to 28 U.S.C. §§ 1441 and 1446, and Rules 81.2 and 81.3

     of the Local Civil Rules for the United States District Court for the Northern District of

     Oklahoma, Defendants USAA Casualty Insurance Company (“USAA CIC”) and United

     Services Automobile Association (“USAA”) (collectively “Defendants”) remove Case

     No. CJ-2013-02547, Rose Marie Carrier v. United Services Automobile Association and USAA

     Casualty Insurance Company, in the District Court of Tulsa County, Oklahoma, to the

     United States District Court for the Northern District of Oklahoma. Defendants remove

     this case on the basis of this Court’s original jurisdiction under 28 U.S.C. § 1332(a)(1).

     Complete diversity of citizenship exists because USAA was fraudulently joined as a

     defendant, and the amount in controversy exceeds $75,000.00, exclusive of interest and

     costs.
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     I.     The State Court Action

            On May 28, 2013, Plaintiff, Rose Marie Carrier, filed Case No. CJ-2013-02547, Rose

     Marie Carrier v. United Services Automobile Association and USAA Casualty Insurance

     Company, in the District Court of Tulsa County, Oklahoma. Pursuant to Local Rule 81.2,

     all state court papers filed or served in the State Court Action as of the time of removal and

     an up-to-date copy of the docket sheet are attached as Exhibit 1. Defendants are also filing a

     Status Report on Removed Action. Carrier requested the Tulsa County District Court

     Clerk issue two summonses, presumably for each Defendant. See Exhibit 1B, State Court

     Action docket sheet. Carrier served USAA CIC and USAA on July 16, 2013.

     II.    This Court Has Original Subject-Matter Jurisdiction

            This Court has original diversity jurisdiction over this case pursuant to 28 U.S.C. §

     1332(a)(1). Complete diversity of citizenship exists, and the amount in controversy exceeds

     the sum of $75,000.00, exclusive of costs and interest.

            A. Diversity of Citizenship.

            Complete diversity of citizenship exists between Carrier and Defendants.

                    1.    Citizenship of Plaintiff, Rose Marie Carrier

            Carrier was, at the time of the filing of her Petition in the State Court Action, and is

     now, domiciled in, a resident of, and therefore a citizen of Oklahoma. See Carrier’s State

     Court Petition (Ex. 1A at ¶ 1); see also, Carrier’s insurance policy with USAA CIC, showing

     an Oklahoma address on the Declarations Page (Ex. 2).




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                       2.   Citizenship of USAA CIC

             As conceded by Carrier, USAA CIC is a foreign insurer. Ex. 1A at ¶ 3. USAA CIC

     is not a citizen of Oklahoma. USAA CIC is a corporation, and thus, for purposes of

     determining diversity jurisdiction, it has dual citizenship in the state of its incorporation

     and of its principal place of business. 28 U.S.C. § 1332(c)(1). USAA CIC is incorporated in

     the state of Texas, and therefore a citizen of Texas. See Affidavit of William McCartney

     (Ex. 3 at ¶ 5).

             A corporation’s principal place of business is defined as its “nerve center,” or in

     other words, the “single place” where “a corporation’s officers direct, control, and

     coordinate the corporation’s activities.” Hertz Corp. v. Friend, 559 U.S. 77, 130 S. Ct. 1181,

     1192-93 (2010). It is often a corporation’s main headquarters. Id. at 1193. The principal

     place of business of USAA CIC is San Antonio, Texas. Ex. 3 at ¶ 6. This is the place of

     USAA CIC’s main headquarters. Ex. 3 at ¶ 6. It is here that officers of USAA CIC mainly

     direct, control, and coordinate the corporation’s activities. Ex. 3 at ¶ 6. USAA CIC is, thus,

     a citizen of Texas.

                       3.   Citizenship of USAA

             As conceded by Carrier, USAA is a reciprocal inter-insurance exchange. Ex. 1A at ¶

     2; Ex. 3, at ¶ 4. USAA is an unincorporated association. Ex. 3 at ¶ 4; see Heckemeyer v. NRT

     Missouri, LLC, 12-CV-1532-AGF, 2013 WL 2250429, *5 at n. 2 (E.D. Mo. May 22, 2013)

     (stating inter-insurance exchanges are treated as unincorporated associations for diversity

     purposes). “For purposes of diversity jurisdiction, the citizenship of an unincorporated

     association is the citizenship of the individual members of the association.” Heckemeyer,
                                                    3

      
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     2013 WL 2250429 at *5, n. 2 (citation omitted). At least some members of USAA are

     citizens of Oklahoma. Ex. 3 at ¶ 4.

               B. Carrier Fraudulently Joined USAA, and Its Citizenship Should Not Be
                  Considered For Diversity Jurisdiction.

               The Court should ignore the citizenship of USAA for purposes of removal because

     it is not a real party to this controversy and was fraudulently joined to this case to defeat

     diversity jurisdiction. Carrier has no legally cognizable claim for recovery against USAA for

     breach of contract or for breach of the covenant of good faith and fair dealing. This Court

     therefore should not consider the citizenship of USAA for diversity jurisdiction purposes

     and should dismiss USAA as a party from this case.

                        1.    Legal Standard for Fraudulent Joinder

               “[A] fraudulent joinder analysis [is] a jurisdictional inquiry.” Albert v. Smith’s Food

     & Drug Ctrs., Inc., 356 F.3d 1242, 1247 (10th Cir. 2004). Fraudulent joinder describes “the

     rubric applied when a court finds either that no cause of action is stated against the

     nondiverse defendant, or in fact no cause of action exists.” AIDS Counseling and Testing

     Centers v. Group W Television, Inc., 903 F.2d 1000, 1003 (4th Cir. 1990). It is well

     established that “the joinder of a resident defendant against whom no cause of action is

     pled, or against whom there is in fact no cause of action, will not defeat removal.” Roe v.

     General American Life Ins. Co., 712 F.2d 450, 452 (10th Cir. 1983). Accordingly, a federal

     court must “disregard nominal or formal parties and rest jurisdiction only upon the

     citizenship of real parties to the controversy.” Navarro Sav. Ass’n v. Lee, 446 U.S. 458, 461

     (1980).


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            To establish fraudulent joinder, a defendant must show, by clear and convincing

     evidence, that the plaintiff either (1) committed outright fraud in pleading the jurisdictional

     facts, or (2) has no possibility of recovery against the non-diverse defendant. Ryan v. State

     Farm Fire and Cas. Co., 09-CV-138-GKF-PJC, 2010 WL 56153, *2 (N.D. Okla., Jan. 4,

     2010); Sallee v. Ready, 12-CV-116-TCK-PJC, 2012 WL 3061493, * 1 (N.D. Okla. July 26,

     2012) (all internal citations omitted). “The issue of fraudulent joinder must be capable of

     summary determination and be proven with complete certainty.” Wormuth v. State Farm

     Mut. Auto. Ins. Co., 06-CV-552-GKF-SAJ, 2007 WL 1500113, * 3 (N.D. Okla. May 21,

     2007) (internal citations and emphasis omitted). All disputed facts and ambiguities of law

     are initially resolved in favor of the non-removing party. Sallee, 2012 WL 3061493 at * 1

     (internal citations removed). In cases where fraudulent joinder is alleged, the court should

     “pierce the pleadings, consider the entire record, and determine the basis of joinder by any

     means available.” Dodd v. Fawcett Publ’ns, Inc., 329 F.2d 82, 85 (10th Cir. 1964); Magnuson

     v. Jackson, 11-CV-0561-CVE-PJC, 2012 WL 2995669, *3 (N.D. Okla. July 23, 2012) (all

     internal citations omitted).

            Carrier has no possibility of recovery against USAA for breach of contract or for

     breach of the covenant of good faith and fair dealing.

                      2.    Breach of Contract Claim

            Carrier’s breach of contract claim against USAA fails as a matter of law because

     USAA is not a party to Carrier’s insurance contract. Carrier’s lawsuit is based on USAA

     CIC’s alleged failure to pay the full amount of Carrier’s claim under the Medical Payment

     (“MedPay”) provisions of her automobile insurance policy. Ex. 1A at ¶¶ 1-20. USAA CIC
                                                    5

      
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     issued Carrier an automobile insurance policy, Policy No. 01137-38-31C-7106-4, which

     provides MedPay coverage. Ex. 1A at ¶ 8. The only parties to this automobile insurance

     policy are Carrier and USAA CIC. Ex. 2 at p. 1. The declarations page of Carrier’s policy

     plainly shows that the policy was issued by USAA CIC:




     Ex. 2 at Declaration Page. In addition, letters sent to Carrier during the claims investigation

     clearly demonstrate that the insuring entity is USAA CIC:




     Letter from USAA CIC to Carrier, dated November 18, 2011 (Ex. 4). Letters sent to

     Carrier’s attorney during the claims investigation similarly show that USAA CIC, not

     USAA, is the insuring entity:




     Letter from USAA CIC to Carrier’s Counsel, Jacob Biby, dated November 22, 2011 (Ex.

     5).
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                   A defendant cannot be held liable for breach of a contract to which it never agreed

     and is not a party. The elements of a cause of action for breach of contract are well

     established in Oklahoma, and require: (1) the existence of a contract; (2) breach of that

     contract; and (3) actual damages as a result of the breach. Oltman Homes, Inc. v. Mirkes,

     2008 OK CIV APP 64, 190 P.3d 1182, 1186.

                   Carrier’s breach of contract claim against USAA fails to satisfy the first and most

     necessary element of a cause of action for breach of contract: no contract exists between

     Carrier and USAA. Carrier does not allege USAA is a party to the insurance contract

     between her and USAA CIC, nor does she allege USAA is otherwise responsible for the

     contractual obligations of USAA CIC.1 Carrier therefore has no possibility of recovery

     against USAA on her breach of contract claim. See Slover v. Equitable Variable Life Ins. Co.,

     443 F. Supp. 2d 1272, 1279 (N.D. Okla. 2006) (denying remand and finding no claim for

     breach of contract where plaintiffs failed to allege nondiverse defendants were parties to

     insurance contract with plaintiffs).

                   Courts in other jurisdictions have found USAA was fraudulently joined as a

     defendant in similar circumstances where USAA was not the insuring entity. In Pegg v.

     United Services Auto. Ass’n, U.S.D.C.N.J., No 09-2108, the district court found “absolutely

                                                                 
     1
       Only the causes of action and allegations asserted in Carrier’s State Court Petition should
     be considered when determining fraudulent joinder. Thus, in the event Carrier later
     attempts to argue that USAA can somehow be held liable for USAA CIC’s actions based
     on the relationship between the two entities, such allegations – which are not contained in
     the Petition – should have no bearing on the Court’s fraudulent joinder determination. See
     Poulos v. NAAS Foods, Inc., 959 F.2d 69, 74 (7th Cir. 1992) (“Although [defendant] bears a
     heavy burden to establish fraudulent joinder, it need not negate any possible theory that
     [plaintiff] might allege in the future: only his present allegations count.”) (emphasis added).

                                                                    7

      
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     no reasonable basis” to support a breach of contract claim against USAA where a

     subsidiary of USAA issued the insurance policy:

                     Upon reviewing the policy of the insured under which
                     Plaintiff asserts his cause of action, it is clear that USAA CIC
                     is the insurance carrier for Plaintiff and not USAA. The
                     declaration pages clearly identify USAA CIC as the
                     corporate entity which entered into the contract to provide
                     insurance coverage… Moreover, the insurance identification
                     cards…clearly identify the insuring company as USAA CIC,
                     and not USAA. Nowhere in the policy is USAA identified as
                     the insurer for the insured. The fact that the USAA logo
                     appears sporadically throughout the insurance policy does
                     not impose a contractual obligation upon USAA to insure the
                     Plaintiff. And to the extent that Plaintiff now asserts that this
                     Court should pierce the corporate veil in order to hold
                     USAA liable, no facts alleged in the Complaint support such
                     a proposition. Even taking into account the high standard for
                     dismissing a non-diverse party based on fraudulent joinder, it
                     is clear that New Jersey law simply does not permit a plaintiff
                     to sue a party other than the insure[r] for breach of contract
                     under an insurance policy.

     See Pegg v. United Services Auto. Ass’n, U.S.D.C.N.J., No 09-2108 Opinion and Order

     entered Sept. 9, 2009 (Ex. 6); see also, Minute Order, Holden v. United Services Auto. Ass’n,

     No. 07-5424 (C.D. Cal. entered Nov. 20, 2007) (finding fraudulent joinder of USAA where

     USAA subsidiary issued the insurance policy) (Ex. 7); Order and Reasons, Schewe v. USAA

     Cas. Ins. Co., No. 06-881 (E.D. La. entered July 27, 2007) (finding that USAA improperly

     joined where USAA GIC issued policy) (Ex. 8); Salkin v. United Services Auto. Ass’n, 767

     F. Supp. 2d 1062 (C.D. Cal. 2011) (finding USAA fraudulently joined) (Ex. 9). Nothing

     about Carrier’s joinder of USAA distinguishes it from the cases cited above. Carrier’s

     joinder of USAA is fraudulent, and therefore, the joinder does not defeat diversity

     jurisdiction in this matter.
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                      3.    Bad Faith Claim

            Carrier’s bad faith claim against USAA likewise fails as a matter of law. In

     Oklahoma, strangers to an insurance contract generally cannot be held liable for breach of

     the duty of good faith and fair dealing. In Allstate Ins. Co. v. Amick, the Oklahoma Supreme

     Court explained that “[t]his single duty of dealing fairly and in good faith with the insured

     arises from the contractual relationship. In the absence of a contractual or statutory

     relationship, there is no duty which can be breached.” 1984 OK 15, 680 P.2d 362, 364; see

     also, Cloud v. Illinois Ins. Exch., 701 F. Supp. 197, 201 (W.D. Okla. 1988) (“Under

     Oklahoma law, a ‘stranger’ to a contract of insurance cannot be held liable for a breach of

     the duty of good faith and fair dealing.”)

            USAA is not a party to Carrier’s automobile insurance policy. Carrier therefore

     cannot maintain a claim against USAA for breach of the duty of good faith arising from that

     policy. Additionally, Carrier does not have a statutory relationship with USAA, nor has one

     been alleged. Because Carrier has neither a statutory nor a contractual relationship with

     USAA, USAA had no duty of good faith and fair dealing to Carrier. Carrier has no

     possibility of recovery against USAA on her bad faith claim.

                      4.    USAA Is Not Legally Responsible For Any Alleged Breach of
                            Contract or Bad Faith of USAA CIC
            USAA’s relationship with USAA CIC does not make it responsible for Carrier’s

     claims for breach of contract or bad faith against USAA CIC. First, USAA and USAA CIC

     are separate and distinct legal entities. The two companies have separate Boards of

     Directors and officers, have separate bylaws, file separate premium tax returns, separately

     file the financial statements required by the Oklahoma Insurance Department, are
                                                   9

      
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     separately capitalized, and are separately licensed in Oklahoma. Ex. 3 at ¶¶ 8, 9, 10, and 11.

     USAA and USAA CIC are separately rated for financial strength by A.M. Best Company,

     the rating agency for insurers. Ex. 3. at ¶ 12.

             Second, USAA is not liable as a matter of law for the acts of USAA CIC. USAA

     CIC is a wholly-owned subsidiary of USAA. Ex. 3 at ¶ 7. Parent corporations, such as

     USAA, cannot be liable for the acts of its subsidiaries. Tomlison v. Combined Underwriters

     Life Ins. Co., 08-CV-259-TCK-FHM, 2010 WL 1486919, * 2 (N.D. Okla. Apr. 13, 2010)

     (citing United States v. Bestfoods, 524 U.S. 51, 61 (1998)). Central to the basis for

     corporations’ existence is to protect individual shareholders from personal liability for the

     actions of a corporation. Fanning v. Brown, 2004 OK 7, 85 P.3d 841, 846 (internal citation

     omitted).

             Carrier has not pleaded that she does not have an adequate legal remedy against

     USAA CIC, nor could she. USAA CIC is a valid and existing foreign insurance carrier good

     standing with the Oklahoma Insurance Department. Ex. 3 at ¶ 13.

                       5.    Carrier’s Counsel Has Sued USAA CIC, But Not USAA, In
                             Similar Med Pay Bad Faith Lawsuits

             Carrier’s counsel is also counsel for two separate plaintiffs in similar breach of

     contract and bad faith lawsuits filed in Oklahoma County: Zeavin v. Evonia Ray and USAA

     CIC, Case No. CJ-2011-7877, and Harper v. United Services Automobile Association and

     USAA CIC, Case No. CJ-2012-5890. In Zeavin, counsel sued the tortfeasor and USAA

     CIC. By suing the tortfeasor who was also an Oklahoma resident, diversity was destroyed




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     and so, notably, plaintiff’s counsel must not have thought it necessary to add USAA to stay

     in state court.

             In Harper, counsel sued USAA and USAA CIC. USAA is the insuring entity in

     Harper and therefore the proper, but non-diverse party. USAA CIC moved to dismiss

     because it was not the insuring entity, and Harper’s counsel agreed to dismiss USAA CIC.

             Here, however, where diversity would otherwise exist, plaintiff’s attorney named

     USAA despite the lack of contractual privity or other relationship between the parties. For

     these reasons, this Court should disregard USAA for purposes of determining diversity of

     citizenship.

             C. Amount in Controversy.

             The amount in controversy in this action exceeds $75,000.00, exclusive of interest

     and costs. Removal is proper on the basis of an amount in controversy if the court finds, by

     a preponderance of the evidence, that the amount in controversy exceeds $75,000.00. 28

     U.S.C. § 1446(c)(2)(B); Chidester ex rel. Chidester v. Kaz, Inc., 07-CV-0084 CVE-PJC,

     2007 WL 1087728, * 2 (N.D. Okla. Apr. 9, 2007) (internal citations omitted) (stating this

     standard even where fraudulent joinder is argued). Local Rule 81.3(a)(1) does not require a

     notice of removal to include particularized statement of facts upon which the jurisdictional

     amount is based where the face of the state court petition contains an express damages

     clause as to at least one claim in an amount exceeding $75,000.00, exclusive of interests

     and costs.

             In establishing the amount in controversy, Defendants may rely on the allegations in

     Carrier’s Petition filed in the State Court Action. McPhail v. Deere & Co., 529 F.3d 947,
                                                  11

      
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     955-56 (10th Cir. 2008); Rice v. Valmont Indus., Inc., 11-CV-724-GKF-TLW, 2012 WL

     2339520, *1 (N.D. Okla. June 19, 2012). Carrier explicitly alleges by her Petition in the

     State Court Action to have “sustained damages, including deprivation of policy benefits

     consequential damages and emotional distress and discomfort, in excess of seventy-five

     thousand dollars ($75,000.00)” from the bad faith actions of USAA.2 Ex. 1A at ¶ 35.

     Carrier additionally alleges damages in excess of $5,000.00 from the breach of contract of

     USAA. Ex. 1A at ¶ 27.

                   Though not particularized as to amount, Carrier seeks an award of punitive

     damages for her bad faith claim. Ex. 1A at ¶ 37. Punitive damages are properly considered

     when calculating the amount in controversy for removal purposes. Bell v. Preferred Life

     Assur. Soc. Of Montgomery, Ala., 320 U.S. 238, 240 (1943).Ex. 1A, at ¶ 37; Woodmen of

     World Life Ins. Society v. Manganaro, 342 F.3d 1214, 1218 (10th Cir. 2003); Miera v.

     Dairyland Ins. Co., 143 F.3d 1337, 1340 (10th Cir. 1998).

                   Carrier further seeks attorney fees in relation to both of her causes of action. The

     potential award of attorney fees should be considered in determining whether the

     jurisdictional amount is satisfied. Manganaro, 342 F.3d at 1218; Miera, 143 F.3d at 1340. As

     noted by the Northern District of Oklahoma, attorney fee awards can be substantial in and

     of themselves.” Slover, 443 F. Supp. 2d at 1278; see also, Lindley v. Life Investors Ins. Co. of

     America, 08-CV-0379-CVE-PJC, 2008 WL 4525423, * 5 (N.D. Okla. Oct. 2, 2008) (valuing

     attorney fees in bad faith case based on denial of medical benefits at $45,000 to determine

                                                                 
     2
      Although Carrier names both USAA CIC and USAA as defendants in her Petition,
     Carrier’s allegations are made against “USAA,” which Carrier defines collectively as
     USAA CIC and USAA. See Ex. 1A at ¶ 4.
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     amount in controversy). Carrier’s potential recovery of attorney fees is therefore a proper

     and substantial factor for the Court to consider in determining whether the amount in

     controversy exceeds $75,000.00.

            Carrier separately requests recovery of fees and costs. Ex. 1A at ¶¶ 28 and 37. The

     damages alleged above are therefore exclusive of fees and costs.

            Carrier’s calculation of its damages from breach of contract and bad faith alone

     exceeds $80,000.00. The other damages sought by Carrier – punitive damages and

     attorney fees – are proper and substantial factors for the Court to consider and strengthen

     the notion that the amount in controversy exceeds $75,000.00. See McPhail, 529 F.3d at

     956 (defining amount in controversy as “an estimate of the amount that will be put at issue

     in the course of the litigation”). At all events, Carrier’s Petition establishes the necessary

     amount in controversy for removal.

     III.   Timeliness of Removal

            This Notice of Removal is timely because it is filed within 30 days of Defendants’

     receipt of the summonses and Carrier’s Petition as required by 28 U.S.C. § 1446(b). This

     removal is timely.

     IV.    Other Removal Requirements

            Defendants file this Notice of Removal in the United States District Court for the

     Northern District of Oklahoma, which is the District Court of the United States for the

     district within which the State Court Action is pending. The Northern District of

     Oklahoma is the district and division embracing the place where the State Court Action is

     pending. 28 U.S.C. § 1441(a); 28 U.S.C. § 116(a).
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            Immediately following the filing of this Notice of Removal, written notice of the

     filing of this Notice of Removal will be delivered to Carrier’s counsel, as required by 28

     U.S.C. § 1446(d). Defendants will promptly file a copy of this Notice of Removal with the

     Clerk of the District Court of Tulsa County, Oklahoma, as required by 28 U.S.C. §

     1446(d). By removing this action to this Court, Defendants do not waive any defenses,

     objections, or motions available under state or federal law.

            Defendants’ counsel has submitted the fee for removal to the Clerk of this Court

     simultaneously with the filing of this Notice.

            WHEREFORE, Defendants USAA CIC and USAA remove this action to this

     Court, invoke this Court’s jurisdiction, and request this Court’s dismissal of USAA from

     this lawsuit as nominal party fraudulently joined to defeat diversity jurisdiction.




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     Dated: 30 July 2013              Respectfully submitted,


                                      s/ John D. Russell
                                      John D. Russell, OBA #13343
                                      Sofia R. Nagda, OBA #30190
                                      Fellers, Snider, Blankenship,
                                        Bailey & Tippens, P.C.
                                      321 S. Boston Avenue, Suite 800
                                      Tulsa, Oklahoma 74103-3318
                                      Telephone (918) 899-0621
                                      Facsimile (918) 583-9659
                                      jrussell@fellerssnider.com
                                      srnagda@fellerssnider.com
                                      and
                                      Lance E. Leffel, OBA #19511
                                      Kyle D. Evans, OBA #22135
                                      Fellers, Snider, Blankenship,
                                        Bailey & Tippens, P.C.
                                      100 North Broadway, Suite 1700
                                      Oklahoma City, Oklahoma 73102-8820
                                      lleffel@fellerssnider.com
                                      kevans@fellerssnider.com
                                      Attorneys for Defendants,
                                      United Services Automobile
                                      Association and USAA Casualty
                                      Insurance Company




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                                 CERTIFICATE OF SERVICE


            I hereby certify that on 30 July 2013, I electronically transmitted “Notice of
     Removal” to the Clerk of the Court using the ECF System for filing and transmittal of a
     Notice of Electronic Filing to the following ECF registrants:

         Simone Gosnell Fulmer – sfulmer@whittenburragelaw.com
         Carin L. Marcussen – cmarcussen@whittenburragelaw.com
         Counsel for Plaintiff
         Rose Marie Carrier

              I hereby certify that on 30 July 2013, I served the same document by:

          U.S. Postal Service      Courier Service           In Person Delivery     E-Mail

         Simone Gosnell Fulmer
         Carin L. Marcussen
         Witten Burrage
         1215 Classen Drive
         Oklahoma City, OK 73103
         Counsel for Plaintiff
         Rose Marie Carrier
                                                        s/John D. Russell


     80296#26461




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